     Case: 1:13-cv-00246-SA-DAS Doc #: 233 Filed: 02/16/17 1 of 1 PageID #: 6020




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION

RACHEL BROWN HEFFERNAN BRYANT, et al.                                           PLAINTIFFS

V.                                                 CIVIL ACTION NO. 1:13CV246-SA-DAS

UNITED FURNITURE INDUSTRIES, INC.,                                             DEFENDANT

                                          ORDER

       Pursuant to a Memorandum Opinion issued this day, the parties Joint Motion for

Settlement Approval and General Release [229] is hereby GRANTED. Furthermore, The

Plaintiffs’ Motion for Attorney’s Fees and Costs [230], which has been joined by the Defendant

[232], is also GRANTED. The trial of this matter is CANCELLED and this case is CLOSED.

       IT IS SO ORDERED this 16th day of February, 2017.

                                                  /s/ Sharion Aycock
                                                  UNITED STATES DISTRICT JUDGE
